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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 PROPERTYTHREE TECHNOLOGY GROUP, INC.,            )
       Plaintiff,                                 )
                                                  )
        vs.                                       )     1:07-cv-00356-JMS-RLY
                                                  )
 APARTMENT HUNTERS, INC., STEVEN                  )
 SHAYAN, KEVIN SHAYAN, AND DENNIS                 )
 PORTNOV,                                         )
       Defendants.                                )
                                                  )

                                AMENDED FINAL JUDGMENT

        Consistent with this Court’s prior order dismissing certain parts of the Amended

 Complaint [dkt. 51] and with the jury’s verdict as to the remainder:1

        1.    The Court DECLARES that Defendants did not infringe upon any copyright of

              Plaintiff in the forms attached as Exhibit B to the Amended Complaint [dkt. 42-2]

              because Plaintiff has no copyright in those forms.

        2.    The Court enters FINAL JUDGMENT in Plaintiff’s favor, and against all

              Defendants, only as to Count III of the Amended Complaint (false advertising), but

              awards no damages. As to all other counts of the Amended Complaint, the Court

              enters FINAL JUDGMENT in all Defendants’ favor, and against Plaintiff.

        3.    A stipulated permanent injunction shall immediately issue regarding Count III.

        4.    $45,000 in attorneys’ fees and $1,923.89 in other costs, for a total of $46,923.89,

              shall be taxed to PropertyThree and payable to Apartment Hunters.



 1
  Upon the written consent of the parties, this matter has been referred to the undersigned
 Magistrate Judge for all proceedings, including for the entry of judgment, as permitted by 28
 U.S.C. § 636(c) and Fed. R. Civ. Pro. 73. [Dkt. 87.]
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    04/21/2010

                                                 _______________________________

                                                    Jane Magnus-Stinson
                                                    United States Magistrate Judge
                                                    Southern District of Indiana

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